   Case 2:17-cr-00221-CJB-DMD       Document 123     Filed 02/10/23   Page 1 of 4




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                CRIMINAL MATTER

VERSUS                                                  No. 17-221

AMIN SULUKI                                             SECTION: “J”(3)


                             ORDER AND REASONS

      Before the Court is a Motion for Early Termination of Supervised Release (Rec.

Doc. 120) filed by Defendant, Amin Suluki, and an opposition filed by the United

States (Rec. Doc. 122). Having considered the motion and legal memoranda, the

record, and applicable law, the Court finds that the motion should be DENIED.

                 FACTS AND PROCEDURAL BACKGROUND

      On April 18, 2019, Suliki pled guilty, pursuant to a plea agreement, to

conspiracy to distribute and possess with intent to distribute five kilograms or more

of cocaine hydrochloride. On January 23, 2020, this Court sentenced Suluki below the

guidelines range to a mandatory minimum 60 months of imprisonment and a

mandatory minimum four years of supervised release. At the time Suluki filed the

instant motion on November 15, 2022, he had completed one year and three days of

supervised release.

      In his motion, Defendant requests that the Court terminate his supervised

release because he has been compliant with the terms of his supervised release.

Specifically, Suluki contends that, because he has completed substance abuse
   Case 2:17-cr-00221-CJB-DMD         Document 123        Filed 02/10/23   Page 2 of 4




treatment, passed his drug screen tests, and maintained a fulltime job, he should be

relieved of these obligations. (Rec. Doc. 120, at 1-2).

      The United States argues, in its opposition, that mere compliance with the

terms of supervised release is not enough to merit termination, and the relevant

factors weigh in favor of continued supervision. (Rec. Doc. 122, at 2-3). According to

the government, Suluki did not meet his burden of showing unusual or extraordinary

circumstances, in addition to full compliance, to justify early termination, and

Suluki’s past criminal history weighs against granting his motion. Id. Additionally,

the United States avers that Defendant’s current positive situation merely proves

that supervised release is working as designed. Id. at 4-5.

                                 LEGAL STANDARD

      Under 18 U.S.C. § 3583(e), this Court may terminate a term of supervised

release after the expiration of one year of supervised release, if it is satisfied that

such action is warranted by the conduct of the defendant and the interest of justice.

In making its determination, the Court must consider a variety of factors:

      (1) the nature and circumstances of the offense and the history and
          characteristics of the defendant;
      (2) the need for the sentence imposed to afford adequate deterrence to
          criminal conduct and to protect the public from further crimes of the
          defendant;
      (3) the need for the sentence imposed to provide the defendant with
          needed educational or vocational training, medical care, or other
          correctional treatment in the most effective manner;
      (4) the applicable sentencing guidelines and policy statements;
      (5) the need to avoid unwarranted sentence disparities among
          defendants with similar records; and
      (6) the need to provide restitution to any victims of the offense.

18 U.S.C. § 3553(a).

                                            2
   Case 2:17-cr-00221-CJB-DMD         Document 123      Filed 02/10/23   Page 3 of 4




                                 DISCUSSION

      Defendant Suluki completed one year of a four-year term of supervised release

and complied with the terms of his supervision during that time. However, he has not

demonstrated that the terms of supervised release have hindered his progress, and

the 3553(a) factors weigh heavily against him. First, he has a history of drug-related

charges prior to the instant 2017 conviction, including a 2000 conviction for

possession with the intent to distribute controlled dangerous substances and a 2001

conviction for cocaine trafficking for which he was sentenced to 175 to 219 months.

(Rec. Doc. 122, at 3-4). Just two years after he was released from prison for the cocaine

trafficking conviction, he was subsequently arrested in the instant case.

      Second, in his motion, Defendant provides no compelling reason that this Court

should alter its original sentence of four years supervised release. Rather,

Defendant’s sole argument is that the requirements of his supervised release have

improved his life—he has maintained employment, started a business, completed the

required therapy, and has not tested positive for drugs during his mandatory screens.

(Rec. Doc. 120). Defendant has also completed substance abuse treatment and has

connected with his daughter who lives in another state. Id. at 1. It appears that

Defendant is benefiting from the terms of supervised release, and Defendant has not

provided other special needs or conditions indicating a need for early termination.

Thus, the Court concludes that Defendant will benefit from continued supervision to

ensure he no longer engages in criminal behavior, and the Court sees no reason to

terminate his supervised release.



                                           3
   Case 2:17-cr-00221-CJB-DMD     Document 123     Filed 02/10/23   Page 4 of 4




                                CONCLUSION

      Accordingly,

      IT IS HEREBY ORDERED that Defendant’s Motion for Early Termination

of Supervised Release (Rec. Doc. 120) is DENIED.

      New Orleans, Louisiana, this 10th day of February, 2023.




                                     CARL J. BARBIER
                                     UNITED STATES DISTRICT JUDGE




                                        4
